Case 2:03-cr-20124-BBD Document 183 Filed 07/07/05 Page 1 0f5 PageiD 184

UN|TED STATES DlSTRlCT COURT w B~%_M D,c_
WESTERN DlSTRlCT OF TENNESSEE

MEMPi-us Dlv\sloN . 05 JUL _1 pmz= 23

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-v- 2:030R20124-02-D w OF itt uslw

ANTON|O NEAL
Michaei J. Sten el CJA
Defense Attorney
50 N. Front Street, Ste. #850
Memphis, TN 38103

 

 

*A*M*E*N*D*E*D* JUDGMENT iN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on October 03, 2003.
Accordingiy, the court has adjudicated that the defendant is guilty of the following
offense(s):

 

 

 

Date Count
Tit|e & Section Nature of Offense Offense Number|s)
Conciuded
21 U.S.C. §§ 846 and 2 Uniawfui Possession with intent to 03/25!2003 1

Distribute Cocaine

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Niandatory
Victims Restitution Act of 1996

Count(s) 2 thru 3 are dismissed on the motion of the United States.

iT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until ali fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence'.
Defendant’s Date of Birth: 12/21/1981 June 30, 2005
Deft's U.S. Marshai No.: 18939-076

Defendant’s Mai|ing Address:
702 N. 14th Street
West Memphis, AR 72301

    

BERN|CE B. DONALD
UN|TED STATES DlSTRlCT JUD

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Th'\s document entered on the docket sheet i
with Fiuie 55 andior 32(i:)) FFlCrP on

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Case 2:03-cr-20124-BBD Document 183 Filed 07/07/05 Page 2 of 5 PageiD 185

Case No: 2:03CR20124-02 Defendant Name: Antonio NEAL Page 2 of 4
iMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of *87 Months.

The Court recommends to the Bureau of Prisons:
'l. The defendant shall participate in the 500 hr Drug Treatment Program.
2. The defendantshali be designated to a facility in the West Memphis, AR area.

The defendant is remanded to the custody of the United States Marshai.

RETU RN

i have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By'.

 

Deputy U.S. Marshai

Case 2:03-cr-20124-BBD Document 183 Filed 07/07/05 Page 3 of 5 PagelD 186

Case No: 2:030R20124-02 Defendant Name: Antonio NEAL Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of *3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall reportto the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation ocher for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation ofticer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation ocher;

Case 2:03-cr-20124-BBD Document 183 Filed 07/07/05 Page 4 of 5 PagelD 187

Case No: 2103CR20124-02 Defendant Name: Antonio NEAL Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer',

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court',

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant's compliance with such

notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crlminal Monetary Penalties sheet of this judgment

ADDlTiONAL CONDIT|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependencywhich may include testing forthe detection of substance use or abuse. Further.
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall seek and maintain full-time lawful employment

CR|MINAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payrnents. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|l of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

_________-
$1 00.00
The Specia| Assessment shall be due immediateiy.

 

FiNE
No fine imposed.

REST|TUTION
No Restitution was ordered.

 

sTRlC COURT - WE"RNT DISRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 183 in
ease 2:03-CR-20124 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

Miehael J. Stengel
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Ste. 850

i\/lemphis7 TN 38103--111

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Berniee Donald
US DlSTRlCT COURT

